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UNITED STATES DISTRICT COURT '
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EDDIE JAMES 1
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FACTUAL BAsIs

The defendant, EDDIE JAMES, has agreed to plead guilty as charged to Count One of
the one-count Bill of Information. Count One charges JAMES with bank robbery, in violation of
Title 18, United States Code, Section 2113(a). Should this matter have proceeded to trial, the
government would have proven, through the introduction of competent testimony and other
admissible evidence, the following facts, beyond a reasonable doubt, to support the allegations in
the Bill of Information:

On Thursday, November 2, 2017, at approximately 10:00 a.m., a black male, herein
referred to as the robber, entered the Fidelity Homestead Bank located at 1201 South Carrollton
Avenue, New Orleans, Louisiana 70118. The robber walked to teller position three and presented
a demand note that said, “This is a Robbery!! Don’t Look up. Put the money in the bag!! Don’t
chance it!!” The victim teller complied with the robber’s demand and handed the robber
approximately $1,114 in United States currency. The robber left the demand note on the counter
and walked away from the counter and out of the bank.

On November 2, 2017, at approximately 11:30 a.m., an individual identifying himself as

EDDIE JAMES contacted the switchboard for the Federal Bureau of Investigation (FBI) in New

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Orleans, Louisiana and asked to speak to the supervisor handling the bank robbery, which had
occurred about an hour and a half earlier. JAMES was transferred to Supervisory Special Agent
Christopher DiMenna’s cellular telephone. SSA DiMenna was still on the scene of the robbery at
the time of the referenced call. FBI SA William C. Williams and FBI SA Crystal Bender witnessed
the call as SSA DiMenna placed the call on speaker.

During the cal`l, JAMES advised that he was having a hard time paying his bills and
decided to rob the Fidelity Homestead Bank while on his way to work. JAMES identified himself
as “EDDIE JAMES, date of birth 03/18/19**, D.O.C. # of 361***.” The personal information
provided by the caller who identified himself as EDDIE JAMES corresponds to JAMES’ actual
date of birth and Department of Corrections number. JAMES further identified his address as
1725 Bartholomew Street. The address JAMES provided matches the address found on a Fidelity
Homestead Bank statement in the envelope that the robber used to write the demand note.

JAMES was asked for a description of the clothing he was wearing as confirmation that
he was in fact the robber. JAMES replied that he Was wearing a blue suit, hat, and glasses, which
fit the exact description of the robber. This information had not been released outside of law
enforcement at that time.

JAMES also stated he entered the bank and observed three females in the bank. This is
consistent with information provided by eyewitnesses JAMES advised that he then “pulled out
a note” and robbed the bank. JAMES told SSA DiMenna that the suit, shirt, and glasses that he

had on during the robbery were not at his home and that law enforcement would never find them.

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JAMES told SSA DiMenna that his cellular telephone number was 504-515-96**. The
FBI New Orleans dispatcher confirmed that the referenced number was in fact the number on
which JAMES called the FBI. Further, records subsequently obtained from Sprint confirm that
the above referenced number was subscribed to EDDIE JAMES at 1725 Bartholomew Street,
New Orleans, Louisiana.

The government would present evidence proving that funds stolen from the Fidelity
Homestead Bank by JAMES were insured through the Federal Deposit lnsurance Corporation at
the time of the robbery,

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DAVID HALLER Date
Assistant United States Attomey

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Date

 

 

Attomey for Defendant

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